March 26, 2019

United States Bankruptcy Court
Clerk’s Office

2005 University Bivd, Room 2300
Tuscaloosa, AL 35401

Dear the Honorable Jennifer H. Henderson:

This is to inform you that | object to the dismissal of the bankruptcy of Cedar Oak Memorial Park

(case #BK14-70576-JHH Chapter 11). | object because | purchased a gravesite, an opening and closing,
_and a vault at the fair market value. | purchased these items in good faith and expected to have them

delivered at the time of death. It will cause an extreme hardship if | have to repay for these items.

Therefore, | object to your dismissing the case.

Sincerely, /772< - frei Lane} Prcackt

Case 14-70576-JHH11 Doc 474 Filed 04/04/19 Entered 04/04/19 15:24:01 Desc
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